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                                      No. 23-12737

             In the United States Court of Appeals
                    for the Eleventh Circuit
                                   YIFAN SHEN, ET AL.,
                                    Plaintiffs-Appellants,
                                             V.

                    COMMISSIONER, FLORIDA DEPARTMENT OF
                            AGRICULTURE, ET AL.,
                              Defendants-Appellees.

                 On Appeal from the United States District Court
                      for the Northern District of Florida
                         No. 4:23-cv-00208-AW-MAF

                         APPELLEES’ ANSWER BRIEF

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                                                      Eleventh Circuit Case No. 23-12737


             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Defendants certify that, to the best of their knowledge, the following is a com-

plete list of interested persons as required by Federal Rule of Appellate Procedure 26.1

and Eleventh Circuit Rules 26.1-1 to 26.1-3:

      1.     American Civil Liberties Union Foundation,

      2.     American Civil Liberties Union Foundation of Florida,

      3.     Anti-Racism Center of LMU Loyola Law School,

      4.     Aoki Center for Critical Race and Nation Studies at UC Davis School of

             Law,

      5.     Arkansas, State of,

      6.     Asian Americans Advancing Justice – Asian Law Caucus,

      7.     Asian Americans Advancing Justice – Atlanta,

      8.     Asian American Legal Defense & Education Fund,

      9.     Asian American Women’s Political Initiative,

      10.    Asian Law Alliance,

      11.    Asian Pacific American Bar Association of Tampa Bay,

      12.    Bailey, Andrew,

      13.    Bell, Daniel W.,

      14.    Boston University Center for Antiracist Research,

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    15.   Butler, Steve,

    16.   Carr, Christopher M.,

    17.   Center for Civil Rights and Racial Justice at the University of Pittsburgh

          School of Law,

    18.   Center for Immigration Law, Policy and Justice at Rutgers Law School,

    19.   Center on Race, Inequality, and the Law at New York University School

          of Law,

    20.   Chang, Robert Seungchul,

    21.   Chin, Gabriel J.,

    22.   Chinese for Affirmative Action,

    23.   Clarke, Kristen,

    24.   Conference of Asian Pacific American Law Faculty,

    25.   Coody, Jason R.,

    26.   Costello, David M.,

    27.   Cuison-Villazor, Rose,

    28.   DeHeng Law Group, PC,

    29.   Fitch, Lynn,

    30.   Fitzgerald, Patricia,

    31.   Fitzpatrick, Martin A.,


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    32.   Florida Office of the Attorney General,

    33.   Formella, John M.,

    34.   Forrester, Nathan A.,

    35.   Fred T. Korematsu Center for Law and Equality at Seattle University

          School of Law,

    36.   Georgia, State of,

    37.   Gorski, Ashley Marie,

    38.   Griffin, Tim,

    39.   Handberg, Roger B.,

    40.   Harwell, Jr., Lacy R.,

    41.   Hispanic National Bar Association,

    42.   Idaho, State of,

    43.   Indiana, State of,

    44.   Jackley, Marty J.,

    45.   Jacobs, Arthur, I.,

    46.   Jadwat, Omar,

    47.   Japanese American Citizens League,

    48.   Jarwala, Alisha,

    49.   Kelly, J. Alex,


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    50.   Knudsen, Austin,

    51.   Koo, Elizabeth L.,

    52.   Labrador, Raúl R.,

    53.   LaPointe, Markenzy,

    54.   Larizza, R.J.,

    55.   Latino Justice PRLDEF,

    56.   Lee, Dexter,

    57.   Li, Bethany Yue-Ping,

    58.   Liu, Yongxin,

    59.   Longfield, Timothy J.,

    60.   Maurer, Michael S.,

    61.   Mahfooz, Sidra,

    62.   Mississippi, State of,

    63.   Missouri, State of,

    64.   Montana, State of,

    65.   Moody, Ashley,

    66.   Multi-Choice Realty, LLC,

    67.   National Asian Pacific American Bar Association,

    68.   New Hampshire, State of,


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    69.   Nordby, Daniel E.,

    70.   North Dakota, State of,

    71.   Pagnucco, Carrie,

    72.   Quinn Emanuel Urquhart & Sullivan, LLP,

    73.   Rather, Shaiba,

    74.   Reyes, Sean,

    75.   Rodriguez, Madeleine Kristine,

    76.   Rokita, Theodore E.,

    77.   Rundle, Katherine Fernandez,

    78.   Sayler, Erik Louis,

    79.   Schenck, Robert S.,

    80.   Shaffer, Derek Lawrence,

    81.   Shen, Yifan,

    82.   Shutts & Bowen, LLP,

    83.   Simpson, Wilton,

    84.   Song, Jian,

    85.   South Asian Bar Association of North America,

    86.   South Carolina, State of,

    87.   South Dakota, State of,


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    88.   Taitz, Sarah Michelle,

    89.   Tang, Haiyan,

    90.   Tilley, Daniel Boaz,

    91.   Toomey, Patrick Christopher,

    92.   Turner, Joshua Nathaniel,

    93.   U.S. Department of Justice,

    94.   Utah, State of,

    95.   Wang, Xinxi,

    96.   Warren, Nicholas,

    97.   Whitaker, Henry C.,

    98.   Wilson, Alan,

    99.   Winsor, Honorable Allen C.,

    100. Wofsy, Cody H.,

    101. Wold, Theodore, J.,

    102. Worrell, Monique,

    103. Wrigley, Drew H.,

    104. Xu, Zhiming,

    105. Zafar, Noor,

    106. Zaman, Razeen J.,


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       107. Zhu, Keliang

       No publicly traded company or corporation has an interest in the outcome of

this case or appeal.




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                       ORAL ARGUMENT STATEMENT

      Defendants respectfully request oral argument and agree with Plaintiffs that oral

argument will help the Court decide the important legal issues raised by this case.




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                       STATEMENT OF JURISDICTION

      The district court had jurisdiction under 28 U.S.C. § 1331. This Court has juris-

diction under 28 U.S.C. § 1292(a)(1).




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                               ISSUES PRESENTED

       The State of Florida enacted SB 264 to shield its citizens from nefarious foreign-

government influence by barring hostile foreign governments and their potential agents

from certain real-estate purchases in Florida. The district court denied a preliminary

injunction after it found that Plaintiffs were unlikely to succeed in their claims. The

issues on appeal are:

       1.     Whether the district court correctly concluded that Plaintiffs are unlikely

to show that SB 264 (i) unconstitutionally discriminates based on alienage, race, or na-

tional origin under the Equal Protection Clause; (ii) is void for vagueness under the Due

Process Clause; (iii) is preempted by the Fair Housing Act; or (iv) is preempted by the

foreign-investment statute administered by the Committee on Foreign Investment in

the United States.

       2.     Whether Plaintiffs have clearly established irreparable harm from SB 264,

that the balance of the equities favors an injunction, and that the public interest favors

an injunction.

       3.     Whether any injunction should be carefully tailored to remedy Plaintiffs’

alleged injuries.




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                                 INTRODUCTION

      At issue in this appeal is a Florida law that protects Floridians and the State itself

by restricting the totalitarian governments of certain “foreign countries of concern”—

China, Russia, Iran, North Korea, Cuba, Venezuela, and Syria—from purchasing land

in Florida. See Fla. Laws ch. 2023-33 (May 8, 2023). To prevent circumvention, that

legislation also limits land purchases by people domiciled in those nations, excluding

U.S. citizens and lawful permanent residents (LPRs).

      Plaintiffs challenge Senate Bill 264 (SB 264) as unconstitutionally vague, moti-

vated by racist intent, and preempted by federal law. In a thoroughly reasoned 51-page

order, the district court denied Plaintiffs a preliminary injunction, finding their claims

unlikely to succeed on the merits. As the district court correctly concluded, SB 264 is

well within the State’s traditional sovereign authority to regulate the acquisition of its

own land, and the State has done so in clear terms not based on race or national origin.

SB 264 mitigates the influence of hostile foreign governments. The statute draws lines

on that basis, not based on race or national origin. And nothing the federal government

has done—including through the limited regulatory authority and scarce resources af-

forded to the Committee on Foreign Investment in the United States (CFIUS)—pre-

cludes Florida from exercising core state sovereign authority over its own land. Plain-

tiffs’ arguments to the contrary would disable Florida from taking action to prevent

threats the federal government has not addressed and has instead left to the states.



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       Plaintiffs have also failed to show that irreparable harm will befall them or that

the balance of the equities favors them. The harms alleged are speculative, reparable, or

otherwise rest on Plaintiffs’ incorrect interpretation of SB 264. And the public interest

and balance of the equities rest with the State because it has a strong interest in enforc-

ing its laws and protecting its citizens.

       This Court should affirm.

                                    BACKGROUND

       A.     Florida’s Efforts to Combat the Influence of Pernicious Foreign
              Governments

       1. In May 2023, the Governor signed into law three bills designed to protect

Floridians from “the United States’ greatest geopolitical threat—the Chinese Com-

munist Party [(CCP)],” and against the communist or totalitarian governments of six

other “foreign countries of concern,” specifically, Iran, North Korea, Cuba, Venezuela,

Syria, and Russia. Governor Ron DeSantis Cracks Down on Communist China, Governor Ron

DeSantis (May 8, 2023), https://www.flgov.com/2023/05/08/governor-ron-desantis-

cracks-down-on-communist-china; Fla. Stat. § 692.201(3). SB 258 protects the security

of data on state-issued devices by barring their access to “applications owned by a for-

eign principal or foreign countries of concern, including China, which present a cyber-

security and data privacy risk.” Id. SB 846 likewise protects the Florida College System,

including its research institutions, against “higher education subterfuge” by restricting

state universities’ partnerships with foreign countries of concern and prohibiting the


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solicitation and acceptance of gifts from them. Id. And SB 264 advances similar privacy

and security interests by prohibiting Florida agencies from contracting with foreign

countries of concern and by “ensur[ing] that health records are physically stored in the

continental U.S., U.S. territories, or Canada.” Id.

       The aspects of SB 264 challenged here advance the State’s sovereign interest in

protecting its soil from being captured by “China and other hostile foreign nations” and

their principals. Id. Among other recent examples illustrating why those provisions were

necessary, legislative staff pointed to efforts by a Chinese food manufacturer to pur-

chase 300 acres of agricultural land just 12 miles from Grand Forks Air Force Base in

North Dakota. See Senate Bill Analysis and Fiscal Impact Statement, CS/CS/SB 264, at

2 (2023), https://www.flsenate.gov/Session/Bill/2023/264/Analyses/2023s00264.

rc.PDF. Grand Forks was home to “some of the country’s most sophisticated, ‘top

secret’ military drone technology,” and “[t]he location of the land close to the base made

it particularly convenient for monitoring air traffic flows in and out of the base, among

other security-related concerns.” Id. The Air Force thus believed that “the proposed

project present[ed] a significant threat to national security with both near- and long-

term risks of significant impacts to [Air Force] operations in the area.” Id. at 3. But

CFIUS—the federal government’s “interagency committee authorized to review certain

transactions involving foreign investment in the U.S.”—determined that the proposed

transaction “was outside of its jurisdiction and that it would therefore take no further



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action.” Id. at 5–6. The transaction fell through only because “the Grand Forks City

Council abandoned the project.” Id. at 3.

      That near-miss came to a head in February 2023, just a month before Florida’s

2023 Legislative Session began. The same month was marked by other noteworthy ex-

amples of CCP activity on U.S. soil, including the now well-know “surveillance balloon

program,” under which a balloon surveilled “a large swath of North America” before

being shot down. Id. Around the same time, “U.S. defense and national security officials

. . . raised the possibility that certain Chinese-made giant cargo cranes are being used

for espionage.” Id. at 4. Those concerns followed soon after the FBI’s revelation of “the

existence of unauthorized ‘police stations’ established by China in major U.S. cities” as

bases of operation for “harassing, stalking, surveilling, and blackmailing people in the

U.S. who disagreed with Chinese leader Xi Jinping.” Id. at 3.

      Legislative staff highlighted those incidents as well as widespread concern “about

potential food security impacts” from foreign land purchases. Id. “A recent letter from

130 lawmakers to the U.S. Government Accountability Office [had] expressed concern

that ‘foreign investment in U.S. farmland could result in foreign control of available

U.S. farmland, especially prime agricultural lands, and possibly lead to foreign control

over food production and food prices.’” Id. Just as Russia had “exercise[d] undue influ-

ence in Europe because it supplied Europe with a significant amount of natural gas,”

“China might similarly try to control food supplies” and thus “exert greater coercive

power around the globe.” Id. Those concerns were especially serious because “[f]oreign

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land holdings have increased by an average of 2.2 million acres per year since 2015,”

and as of 2021, “China [already] accounted for 383,935 acres” of “foreign-owned U.S.

agricultural land.” Id. at 4.

       2. The provisions of SB 264 challenged here created a series of new Florida stat-

utes that address “significant gaps” legislative staff identified in CFIUS’s statutory ju-

risdiction. Id. at 5–6. Specifically, SB 264 prohibits certain land acquisitions by “foreign

principals” of “foreign countries of concern,” Fla. Stat. § 692.203(1), meaning China,

Russia, Iran, North Korea, Cuba, Venezuela, and Syria, Fla. Stat. § 692.201(3). A “for-

eign principal” includes the government itself, a government official, a member of a

political party in that country, and—as relevant here—“[a]ny person who is domiciled

in” one of those countries “and is not a citizen or lawful permanent resident of the

United States.” Fla. Stat. § 692.201(4).

       Effective July 1, 2023, “foreign principals” are prohibited from acquiring land

within 10 miles of a “military installation” or “critical infrastructure facility” or, in the

case of a foreign principal of China, anywhere in the State. Fla. Stat. §§ 692.203(1),

692.204(1). But all individuals may continue to own interests in property acquired prior

to July 1. Fla. Stat. §§ 692.203(2), 692.204(3). Those who violate the purchase provisions

are subject to civil and criminal penalties. See Fla. Stat. §§ 692.203(7)–(9).

       The purchase restrictions are qualified by several exceptions. Foreign principals

(including those from China) with a non-tourist visa or asylum may acquire up to two

contiguous acres of residential property not within five miles of a military installation.

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Fla. Stat. §§ 692.203(4), 692.204(2). The law also does not apply to land acquired by a

foreign principal for a diplomatic purpose recognized, acknowledged, or allowed by the

federal government. Fla. Stat. § 692.205. And the law specifies that a foreign principal

who “directly or indirectly owns or acquires any interest in real property . . . before July

1, 2023, may continue to own or hold such real property.” Fla. Stat. §§ 692.203(2),

692.204(3). In essence, this grandfather provision exempts real-estate contracts closing

after July 1, 2023, from the purchase restrictions, as long as those contracts were exe-

cuted before that date, as stated by the entity that administers SB 264: Florida’s Depart-

ment of Commerce. Fla. Stat. § 692.203(10); Fla. Admin. Reg. 73C-60.002,

https://www.flrules.org/Gateway/View_notice.asp?id=27574595. 1 And finally, for-

eign principals who acquire real estate that would be subject to SB 264’s purchase re-

strictions after July 1 “by devise or descent, through the enforcement of security inter-

ests, or through the collection of debts,” are given three years to sell or dispose of the

property. Fla. Stat. §§ 692.203(5), 692.204(5).

       SB 264 imposes two additional requirements related to land. First, foreign prin-

cipals must file a one-time registration statement by the end of 2023 if they owned land

before July 1, 2023, that is now subject to SB 264. Fla. Stat. § 692.203(3). So if a foreign

principal owns property within 10 miles of a military installation or critical infrastructure



       Fla. Laws ch. 2023-173, § 10 (May 31, 2023) (HB 5) (transferring the functions
       1

of the Department of Economic Opportunity to the newly formed Department of
Commerce).

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facility, or any land in the case of a foreign principal of China, the principal must register

that property. Foreign principals purchasing land subject to SB 264 on or after July 1—

such as through the two-acre residential property exception—also must register that

property within 30 days of acquisition. Fla. Stat. § 692.203(3)(b). Second, all land-sale

transactions in the state must be accompanied by an affidavit swearing compliance with

SB 264 at the time of purchase. Fla. Stat. § 692.203(6).

       B.     Plaintiffs

       Plaintiffs are four individuals and one LLC. The individual Plaintiffs are three

Chinese citizens with nonimmigrant U.S. visas (Plaintiffs Shen, Liu, and Wang) and one

Chinese-citizen asylum applicant (Plaintiff Xu). Plaintiff Wang is an international stu-

dent with an F-1 visa, and Shen and Liu are workers with H-1B visas. App. 99, 143,

149. The individual Plaintiffs allege that SB 264 will either require them to register land

they already own or prohibit them from purchasing land in the future. The LLC Plaintiff

(Multi-Choice Realty) is a real-estate-brokerage firm that has “Chinese-speaking” cli-

ents. App. 155–57. The only specific harm Multi-Choice has identified is that one of its

clients was denied financing by two lenders for a real-estate contract that was executed

in 2019 and has been open since it was executed. App. 308–20.

       C.     Procedural History

       On May 22, 2023, Plaintiffs sued to enjoin enforcement of SB 264. App. 11. The

individual Plaintiffs asserted equal-protection and vagueness claims, as well as preemp-

tion claims under the Fair Housing Act (FHA) and the federal statute that authorizes

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CFIUS to regulate foreign investment in the United States. Multi-Choice joined only

the preemption claims. App. 82–91. All Plaintiffs moved for a preliminary injunction.

App. 3–4. The United States filed a statement of interest, supporting Plaintiffs only in

their argument that Florida’s law violated equal protection and the FHA. App. 286–

306. The United States did not support Plaintiffs’ argument that the law was preempted

by the CFIUS statute. Id.

       After a hearing, App. 8, the district court denied the preliminary injunction, App.

374–75. Although the court found at least one individual Plaintiff had standing, it ruled

that no Plaintiff was likely to succeed on the merits. App. 322–72. As a result, the district

court denied the injunction without considering the other preliminary injunction fac-

tors. App. 372.

       This appeal followed. The United States has not filed an amicus brief in support

of Plaintiffs.

                              STANDARD OF REVIEW

       To obtain a preliminary injunction, a plaintiff must show (1) a substantial likeli-

hood of success on the merits; (2) a substantial risk of irreparable injury absent injunc-

tive relief; (3) an injunction would not cause substantial harm to other interested per-

sons; and (4) the public interest favors an injunction. Siegel v. LePore, 234 F.3d 1163,

1176 (11th Cir. 2000) (en banc). Although the first two factors are “the most critical,”

Nken v. Holder, 556 U.S. 418, 434 (2009), a “preliminary injunction is an extraordinary

and drastic remedy not to be granted unless the movant clearly established the burden

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of persuasion as to the four requisites.” McDonald’s Corp. v. Robertson, 147 F.3d 1301,

1306 (11th Cir. 1998). As a result, “[f]ailure to show any of the four factors is fatal.”

ACLU of Fla., Inc. v. Miami-Dade Cnty. Sch. Bd., 557 F.3d 1177, 1198 (11th Cir. 2009).

       This Court reviews the denial of “a preliminary injunction for abuse of discre-

tion,” reviewing “findings of fact of the district court for clear error and legal conclu-

sions de novo.” Barber v. Gov. of Ala., 73 F.4th 1306, 1316 (11th Cir. 2023). This narrow

and deferential standard of review “recognizes the range of possible conclusions the

[district court] may reach, . . . so long as that choice does not constitute a clear error of

judgment.” Id. at 1317. 2

                            SUMMARY OF ARGUMENT

       Plaintiffs challenge, as unconstitutional and preempted by federal law, Florida’s

attempt in SB 264 to protect its citizens and soil from land purchases by hostile foreign

governments and their potential agents. But the district court correctly rejected those

claims, recognizing that SB 264 falls comfortably within Florida’s fundamental sover-

eign prerogative to regulate its own land. The district court’s denial of injunctive relief

is also supportable on several alternative grounds: Plaintiffs lack standing, have no cause




       2
        To the extent Plaintiffs imply (at 9) that any legal error subjects the entire order
(including factual findings) to “plenary review,” that is incorrect. Even when reviewing
a preliminary injunction, this Court applies clear-error review to factual findings. Barber,
73 F.4th at 1316; Fed. R. Civ. P. 52(a).

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of action to enforce the FHA or the CFIUS statute, and cannot demonstrate any of the

remaining equitable factors for obtaining a preliminary injunction.

       The Court should affirm.

       I. Plaintiffs are unlikely to succeed on the merits of their four claims.

       A. On equal protection, the district court correctly held that SB 264 is subject to

only rational-basis review despite Plaintiffs’ claims of alienage, race, and national-origin

discrimination. Though SB 264 bars some aliens from holding property, the Supreme

Court has long blessed state restrictions on alien land ownership. See, e.g., Terrace v.

Thompson, 263 U.S. 197, 219–22 (1923). Those decisions have neither withered away nor

are distinguishable from this case. On the contrary, they are firmly grounded in history.

At common law, alien land restrictions were pervasive, as they were in states at the time

of the ratification of the Fourteenth Amendment. SB 264’s alienage classification also

does not trigger heightened scrutiny, because it affects merely temporary aliens. Such

scrutiny only applies to discrimination specifically against lawful permanent residents,

or LPRs. E.g., LeClerc v. Webb, 419 F.3d 405, 415 (5th Cir. 2005).

       The district court was also right to reject Plaintiffs’ insistence that the statute

discriminates based on race or national origin. The law is neutral on its face. It classifies

based on domicile and alienage, not race or national origin. Plaintiffs contend otherwise

through urging that “domicile” is merely a “proxy” for race and national origin, but no

such discriminatory intent can be presumed from this rational tool to prevent circum-

vention of SB 264 by hostile totalitarian nations. Finally, Plaintiffs have otherwise failed

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to present evidence of animus by the Florida Legislature to overcome the legislative

presumption of good faith.

       B. SB 264 is also not void for vagueness under the Due Process Clause. SB 264’s

terms plainly have a discernible “core” of meaning. SisterSong Women of Color Reprod. Just.

Collective v. Gov. of Ga., 40 F.4th 1320, 1327 (11th Cir. 2022).

       C. The district court correctly rejected Plaintiffs’ FHA preemption claim. Plain-

tiffs have no cause of action to preempt state law, and SB 264 was not motivated by

race or national-origin discrimination. Nor have Plaintiffs shown a likelihood of success

on a disparate-impact FHA theory based on SB 264’s alleged discriminatory effects,

which they pressed to the district court in a one-sentence footnote in their preliminary-

injunction motion.

       D. The district court correctly rejected Plaintiffs’ claim of CFIUS preemption.

Neither the CFIUS statute itself nor any traditional principle of equity affords Plaintiffs

a cause of action, express or implied, to seek to enforce the national-security values

CFIUS embodies. The CFIUS regime sensibly entrusts such enforcement to the Presi-

dent and his subordinates.

       Plaintiffs have likewise failed to meet the “high threshold” necessary to show

implied preemption. Chamber of Com. of the U.S. v. Whiting, 563 U.S. 582, 607 (2011).

CFIUS did not upset the federal government’s approval of alien land ownership re-

strictions, evidenced both by its similar restrictions for federal lands and by its

longstanding practice of using treaties to override these restrictions on a country-by-

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country basis. CFIUS’s limited jurisdiction—including its wholly voluntary reporting

system for real-estate transactions, and its resource and time constraints—reflects a

cautious federal determination to examine certain red-flag transfers of control but oth-

erwise leave to states the traditionally state-regulated field of real-estate transactions.

That modest regime is not a comprehensive and exclusive national foreign-policy ap-

paratus and does not represent a determination that all real-estate transactions nation-

wide exempted from CFIUS’s jurisdiction never pose national-security risks.

        Contrary to Plaintiffs’ suggestions, much more is required than remote effects

on foreign relations to overcome the presumption against preemption. In the modern

international economy, nearly any state regulation of commerce will have some down-

stream international effect. Crosby v. National Foreign Trade Council, 530 U.S. 363 (2000),

and Odebrecht Construction, Inc. v. Secretary, Florida Department of Transportation, 715 F.3d

1268 (11th Cir. 2013), are simply inapposite, as those cases involved different laws and

different historical backgrounds. Plaintiffs’ CFIUS preemption claim therefore must

fail.

        E. Alternatively, this Court may also affirm on the ground that Plaintiffs lack

standing. The individual Plaintiffs failed to establish that they are domiciled in China

and thus subject to SB 264. And the only client that Multi-Choice identified is exempted

from the purchase restrictions of SB 264, because his real-estate contract is exempted

by the law’s grandfather clause.



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       II. Plaintiffs also failed to demonstrate the remaining factors for equitable relief.

No irreparable harm will befall Plaintiffs if the district court proceeds as normal. The

pending real-estate contracts that Plaintiffs claim will fall through are also subject to SB

264’s grandfather clause, and so they are not barred from closing those real-estate con-

tracts. And the balance of the equities favors the State’s ability to protect its citizens

through its validly enacted legislation.

       III. To the extent any injunctive relief is appropriate, it should be limited to any

Plaintiffs who establish standing to sue and the specific provisions of the statute any

such Plaintiffs challenge. See Georgia v. President of the U.S., 46 F.4th 1283, 1303–04 (11th

Cir. 2022).

                                      ARGUMENT

I.     PLAINTIFFS ARE UNLIKELY TO SUCCEED ON THE MERITS OF THEIR CLAIMS
       AGAINST SB 264.

       A.     SB 264 does not violate the Equal Protection Clause.

       Plaintiffs assert (at 23–30) that SB 264 violates the Equal Protection Clause be-

cause it discriminates on the basis of alienage, race, and national origin and is thus sub-

ject to strict scrutiny. But the district court correctly rejected that claim, instead finding

that SB 264’s land-purchase restrictions were a non-discriminatory and rational means

of protecting Florida’s soil. App. 335–55.




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              1.     SB 264 does not trigger heightened scrutiny under the Equal
                     Protection Clause.

       Principally, SB 264 limits hostile foreign governments and their agents from pur-

chasing land. Fla. Stat. §§ 692.201(4), 692.203(1). To effectuate that prohibition, the law

also limits those domiciled in—and likely subject to the influence of—those countries

from purchasing land as well. Fla. Stat. § 692.201(4)(d). It exempts U.S. citizens and

LPRs, no matter where domiciled, from its proscriptions. Id.

       Plaintiffs first contend (at 24–28) that the district court erred in holding that this

distinction between citizens and LPRs and other aliens did not warrant heightened scru-

tiny. That is wrong for at least three reasons.

       First, the U.S. Supreme Court has long upheld restrictions on the purchase of

land by aliens, see, e.g., Terrace, 263 U.S. at 219–22; Porterfield v. Webb, 263 U.S. 225, 232–

33 (1923); Webb v. O’Brien, 263 U.S. 313, 324–26 (1923); Frick v. Webb, 263 U.S. 326,

332–34 (1923), ruling that they do not violate “equal protection so long [as they are]

not ‘arbitrary or unreasonable,’” App. 341–42 (quoting Porterfield, 263 U.S. at 232–33).

The Court has also dismissed as “frivolous” the contention that a “state statute forbid-

ding the ownership of real property by aliens was repugnant to the 14th Amendment.”

Toop v. Ulysses Land Co., 237 U.S. 580, 582–83 (1915).

       Plaintiffs suggest (at 25–26) that these precedents have been eroded or discred-

ited, but the cases they cite expressly assume the continued validity of them. See Graham

v. Richardson, 403 U.S. 365, 373–74 & nn.8–9 (1971); Oyama v. California, 332 U.S. 633,


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646–47 (1948); Takahashi v. Fish & Game Comm’n, 334 U.S. 410, 422 (1948). When a

Supreme Court case “has direct application,” lower courts must apply that precedent,

despite alleged “tension with some other line of decisions.” Mallory v. Norfolk S. Ry. Co.,

600 U.S. 122, 136 (2023). Put another way, absent “explicit language” overturning a

prior precedent, both the district court and this Court’s constitutional duty is to apply

Supreme Court precedent faithfully. Solymar Invs., Ltd. v. Banco Santander S.A., 672 F.3d

981, 990 n.9 (11th Cir. 2012).

       Plaintiffs also claim (at 26–27) that these cases are distinguishable (and thus have

no “direct application”) because the land restrictions at issue applied to all aliens, not

just citizens or domiciliaries of certain countries. That is not so. The Washington law in

Terrace barred aliens from holding property if they were ineligible for citizenship under

federal law or, if eligible, if they had failed to declare a good-faith intent to seek citizen-

ship. 263 U.S. at 219–22. At that time, eligibility for citizenship turned in part on an

alien’s country of origin. See id. at 220; see also Pub. L. No. 64-301, § 3, 39 Stat. 874, 876

(Feb. 3, 1917) (barring individuals from certain countries, including China, from admis-

sion into the United States). The district court was correct that the statute in Terrace is

indistinguishable from SB 264, even if it is different “in a literal sense” because that law

focused on “eligibility for citizenship” and a declaration to seek citizenship rather than

“domicile.” App. 342–44.

       Even apart from that binding precedent, SB 264 does not trigger heightened

scrutiny because it exempts LPRs, an alternative holding of the district court that

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Plaintiffs relegate to a single responsive paragraph in their brief. Initial Br. 28; App.

349–50. The Supreme Court has recognized that not “all limitations on aliens are sus-

pect.” Foley v. Connelie, 435 U.S. 291, 294 (1978). Illegal aliens, for instance, “cannot be

treated as a suspect class.” Plyler v. Doe, 457 U.S. 202, 223 (1982). On the other end of

the spectrum are LPRs, discrimination against whom “the Supreme Court has reviewed

with strict scrutiny,” LeClerc, 419 F.3d at 415, because, as the Supreme Court itself said,

such discrimination strikes “at the noncitizens’ ability to exist in the community, a po-

sition seemingly inconsistent with the congressional determination to admit the[se] al-

ien[s] to permanent residence.” Foley, 435 U.S. at 295 (emphasis added). In fact, every Su-

preme Court case applying strict scrutiny to alienage classifications involved laws spe-

cifically “affecting permanent resident aliens.” LeClerc, 419 F.3d at 415.

       That leaves a middle ground of temporary aliens, to whom the Fifth and Sixth

Circuits have refused to extend heightened scrutiny. Id. at 419; LULAC v. Bredesen, 500

F.3d 523, 533 (6th Cir. 2007).3 As the United States then argued in opposition to certi-

orari in LeClerc, the Supreme Court’s holding “that alienage classifications are subject to

strict scrutiny cannot be divorced from the context in which it appeared,” because

nonimmigrant aliens “are present only temporarily and subject to restrictions, and they



       3
          While the Second Circuit rejected this reasoning in Dandamudi v. Tisch, that case
involved a New York law that precluded all nonimmigrants from obtaining a pharma-
cist’s license, even if they were domiciled in the United States. See 686 F.3d 66, 71–72,
77 (2d Cir. 2012). SB 264 does not sweep so broadly, and exempts nonimmigrants dom-
iciled anywhere else in the world other than foreign countries of concern.

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do not ordinarily have the same ties to this country as permanent residents.” Brief for the

United States as Amicus Curiae at 16–17, Wallace v. Calogero, Nos. 05-1645, 06-11 (U.S. May

23, 2007), 2007 WL 1520968, at *16–17. What is more, this Court approvingly cited

LeClerc in “declin[ing] to extend the Supreme Court’s decisions concerning resident al-

iens to different alien categories,” namely DACA recipients. Estrada v. Becker, 917 F.3d

1298, 1310 (11th Cir. 2019). And SB 264 is even more modest than the classifications

upheld in LeClerc and LULAC, exempting both LPRs and nonimmigrant aliens domi-

ciled in America.

       Finally, the original meaning of the Fourteenth Amendment and the modern

“political function” doctrine also support the district court’s conclusion. At the time of

the ratification of the Fourteenth Amendment, state restrictions on alien land owner-

ship were ubiquitous. See Terrace, 263 U.S. at 217.4 Those who adopted the Fourteenth



       4
         Many states’ property laws distinguished between classes of aliens. See, e.g., Wis.
Const. of 1848, art. I, § 15; 1 James M. Matthews, Digest of the Laws of Virginia, of a Civil
Nature and of a Permanent Character and General Operation 76 (J.W. Randolph ed., 1856);
Mich. Const. of 1850, art. XVIII, § 13; Iowa Const. of 1857, art. I, § 22; Or. Const. of
1857, art. I, § 31; Kan. Const. of 1859, Bill of Rights § 17; Nev. Const. of 1864, art. I,
§ 16; A.F. Denny, The General Statutes of the State of Missouri 448 (1866); Neb. Const. of
1866–1867, art. I, § 14; 1 Seymour D. Thompson & Thomas M. Steger, A Compilation
of the Statute Laws of the State of Tennessee 932 (3d ed. 1873); Fla. Const. of 1868, art. I,
§ 17; Ark. Const. of 1868, art. I, § 20; W. Va. Const. of 1872, art. II, § 5; The General
Statutes of the Commonwealth of Kentucky 191–92 (Edward I. Bullock & William Johnson
eds., 1873); Ala. Const. of 1875, art. I, § 36; The General Statutes of the State of Connecticut,
with the Declaration of Independence, the Constitution of the United States, and the Constitution of
Connecticut 4–5 (1875); Colo. Const. of 1876, art. II, § 27; A.V.D. Honeyman, An Abridg-
ment Revised Statutes of New Jersey, and of the Amended Constitution 21 (1878); 3 The Revised


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Amendment would not have failed to appreciate the “wide discretion” that state legis-

latures traditionally wielded to restrict alien land ownership, App. 341, which derived

from a nearly millennium-old common-law tradition, Allison Brownell Tirres, Property

Outliers: Non-Citizens, Property Rights and State Power, 27 Geo. Immigr. L.J. 77, 92 (2012);

William Blackstone, Commentaries on the Laws of England *367–72.

       Alternatively, “the State’s broad power to define its political community” likewise

justifies alien land restrictions under the “sovereign” or “political function” doctrine.

Cabell v. Chavez-Salido, 454 U.S. 432, 438–40 (1982). That doctrine recognizes that the

Equal Protection Clause does not “obliterate all the distinctions between citizens and

aliens,” because that would “depreciate the historic value of citizenship,” which has

long been tied to the ability to hold land. Id. at 439.



Statutes of the State of New York 2163–65 (Montgomery H. Throop ed., 7th ed. 1882); The
Revised Statutes of the State of Illinois, Embracing All Laws of a General Nature in Force July 1,
1887 95 (George W. Cothran ed., 6th rev. ed. 1887); Mont. Const. of 1889, art. III, § 25;
Wyo. Const. of 1889, art. I, § 29; Wash. Const. of 1889, art. II, § 33; S.D. Const. of
1889, art. VI, § 14; Miss. Const. of 1890, art. IV, § 84; Cal. Const. of 1879, art. I, § 17
(as amended in 1894); S.C. Const. of 1895, art. III, § 35; 1 John Sayles & Henry Sayles,
Sayles’ Annotated Civil Statutes of the State of Texas 5–6 (1898); Okla. Const. of 1907, art.
XXII; see also Polly J. Price, Alien Land Restrictions in the American Common Law: Exploring
the Relative Autonomy Paradigm, 43 Am. J. Legal Hist. 152, 168–74 (1999); Charles H.
Sullivan, Alien Land Laws: A Re-Evaluation, 36 Temp. L.Q. 15, 18–31, 31 n.68 (1962).
Those statutes were in addition to the cases interpreting state law to incorporate the
common-law rule. See e.g., State v. Boston, Concord & Montreal R.R., 25 Vt. 433, 436 (1853);
Smith v. Zaner, 4 Ala. 99, 106 (1842). A few states chose to exercise their authority to
remove distinctions between alien and citizen. See Frederick C. Brightly, Annual Digest
of the Laws of Pennsylvania for the Years 1862 to 1870 1383 (1870); The Public Statutes of the
State of Minnesota (1849–1858) 411 (Moses Sherburne & William Hollinshead comps.,
1859).

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             2.     SB 264 was not motivated by racial or national-origin-based
                    animus.

       The district court also rejected Plaintiffs’ argument that SB 264’s classifications,

on their face, are based on race or national origin, concluding that the law instead clas-

sifies by domicile and immigration status—which it expressly does. App. 338–39. In

arguing otherwise, Plaintiffs elide the established distinction between alienage classifi-

cations, on the one hand, and national-origin classifications, on the other hand. See

United States v. Osorto, 995 F.3d 801, 822 (11th Cir. 2021) (holding that “alienage . . .

differs from national origin,” even though the bulk of nationals of a country are from

that country). Just as a bathroom policy based on biological sex “does not facially dis-

criminate on the basis of transgender status,” Florida’s “policy divides [people] into two

groups, both of which include [Chinese people],” such that there is “a ‘lack of identity’

between the policy and [race or national origin].” Adams ex rel. Kasper v. Sch. Bd. of St.

Johns Cnty., 57 F.4th 791, 808–09 (11th Cir. 2022) (en banc); see also Dobbs v. Jackson

Women’s Health Org., 142 S. Ct. 2228, 2245–46 (2022) (laws restricting abortion apply

only to women, yet do not create a facial classification).

       Plaintiffs attempt to skirt this “textual reality,” App. 339, by claiming that domi-

cile is a “proxy” for race or national origin. Initial Br. 15–17. But as the district court

observed, “residency and birthplace do not clearly overlap to the point where they are




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practically indistinguishable.” App. 339. 5 Overlap establishes at most a disparate impact,

which the Supreme Court held in Village of Arlington Heights v. Metropolitan Housing Devel-

opment Co., 429 U.S. 252 (1977), is not enough for an equal-protection claim. Id. at 265–

66. Equal-protection plaintiffs must also establish animus, either by demonstrating a

facial classification—which they cannot do because “alienage . . . differs from national

origin” in this Court’s equal-protection jurisprudence, see Osorto, 995 F.3d at 822, or

through the multi-factor evidentiary analysis laid out in Arlington Heights—which Plain-

tiffs have failed to do, as discussed more fully below.

       Plaintiffs are wrong that the Court can presume that domicile is a “proxy” for

national-origin or racial animus. They point to Rice v. Cayetano, 528 U.S. 495, 514, 515–

17 (2000), and Guinn v. United States, 238 U.S. 347, 364–65 (1915). But the law in Rice on

its face restricted voting to “descendant[s] of not less than one-half part of the races

inhabiting the Hawaiian Islands previous to 1778.” 528 U.S. at 510. That law thus “sin-

gle[d] out identifiable classes of persons . . . solely because of their ancestry or ethnic

characteristics.” Id. at 515 (citation omitted). Guinn likewise involved a voter-literacy



       5
         Plaintiffs request, for the first time on appeal, judicial notice of a U.N. webpage
purportedly showing that 99.9% of China’s population is of Chinese national origin.
Initial Br. 14 & n.7, 29 & n.11. This evidence should have been submitted to the district
court so that the parties could contest, and the factfinder could evaluate, the method-
ology used to arrive at the figures on that page. In any event, the webpage is at best
ambiguous and incomplete. Among other things, it does not explain how to read the
“international migrant stock” numbers or how it was compiled, and it expressly ex-
cludes data from Hong Kong and Macau. But even if these facts were true, Plaintiffs
claims still fail for the reasons set out below.

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requirement with an exception for individuals with a particular bloodline—the “de-

scendant[s]” of those who could vote prior to the enactment of the Fifteenth Amend-

ment. 238 U.S. at 364. In both cases, the challenged law not only classified people based

on bloodline, but the “necessary motivation [of the Legislature] was painfully apparent”

on the face of the law. Nevett v. Sides, 571 F.2d 209, 220 (5th Cir. 1978). Put differently,

the restrictions “could not be explained on grounds other than race.” Shaw v. Reno, 509

U.S. 630, 644 (1993) (emphasis added) (describing Guinn); see also Bray v. Alexandria

Women’s Health Clinic, 506 U.S. 263, 270 (1993); Resendiz v. Exxon Mobil Corp., 72 F.4th

623, 628 & n.6 (4th Cir. 2023) (noting that, even under a “proxy” theory, irrationality is

required because “[d]isparate impact alone is not enough to prove intent”). Here, noth-

ing like that is true. Foreign domicile is a rational way to identify individuals more likely

subject to foreign government influence, just as requiring permanent work authoriza-

tion is a rational way to choose employees. See Resendiz, 72 F.4th at 628–29. 6 Animus

cannot be presumed when plainly non-discriminatory reasons exist for relying on a




       6
         For the same reason, Plaintiffs fail in their argument—presented for the first
time on appeal—that “[t]he State has provided no justification for” its law and that SB
264 thus lacks even a rational basis. Mot. for Inj. Pending Appeal at 14; Initial Br. 27–
28. Under rational-basis review, it is Plaintiffs’ burden to “negate every conceivable
basis that might justify the law.” App. 35. The State below demonstrated many justifi-
cations for SB 264—public safety, national and state security, avoiding landlord absen-
teeism, negating totalitarian foreign influence in America, preserving scarce resources
for voters (i.e., citizens) and LPRs, and encouraging individuals to become domiciled in
the United States. Id.; see also DE60 at 26. SB 264 thus easily withstands rational-basis
review.

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particular criterion. See Dean v. Warren, 12 F.4th 1248, 1260–61 (11th Cir. 2021) (citing

Bray, 506 U.S. at 270) (finding, in the context of a civil-rights conspiracy claim, that

animus could not be inferred because patriotism was among the “common and respect-

able” reasons for opposing protest-by-kneeling).

       Turning to the Arlington Heights analysis, Plaintiffs had the burden of proving

racial or national-origin-based animus through the following non-exhaustive sources of

evidence: “(1) disproportionate impact, (2) historical background, (3) departures from

usual procedure, (4) substantive departures, and (5) legislative history, including deci-

sionmakers’ statements,” as well as “(6) foreseeability of the impact; (7) knowledge of

that impact, and (8) availability of less discriminatory alternatives.” App. 351–52 (citing

Greater Birmingham Ministries v. Sec’y of State for State of Ala., 992 F.3d 1299, 1322 (11th

Cir. 2021)). As the district court correctly found, Plaintiffs put forth no such evidence

sufficient to overcome “the presumption of legislative good faith” that attends any in-

quiry into legislative intent. App. 353–54 (citing League of Women Voters of Fla., Inc. v. Fla.

Sec’y of State, 32 F.4th 1363, 1373 (11th Cir. 2022)). That finding is subject only to this

Court’s review for clear error, see Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321,

2348–49 (2021) (legislative animus is a factual finding subject to clear error review, and

will be upheld if “plausible in light of the entire record”), and it was plainly correct.

       Without mentioning the presumption of legislative good faith, Plaintiffs rehash

their “proxy” theory by arguing (at 29) that the overlap between domicile and race or

national origin proves animus. As discussed above, however, absent “a clear pattern,

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unexplainable on grounds other than race” or national origin, evidence of impact alone

is insufficient. Greater Birmingham Ministries, 992 F.3d at 1322. Any impact revealed by

“the text of the statute itself” is not “direct evidence” of animus, as Plaintiffs contend

(at 18), because a finding of discriminatory purpose requires “more than” impact or

even “awareness of consequences”; the whole legislature must have acted “because of,”

rather than “in spite of” such effects. Bray, 506 U.S. at 271–72; Rollins v. TechSouth, Inc.,

833 F.2d 1525, 1528 n.6 (11th Cir. 1987) (direct evidence is that “which if believed,

proves [the] existence of [a] fact in issue without inference or presumption”).

       The statements of legislators that Plaintiffs cite (at 19–21, 29–30) are not evi-

dence of animus. The concern was about threats posed by hostile foreign nations, not

individuals born there. App. 352–53. Florida officials wanted to prevent those nations

from causing “upheaval” and “turmoil” in Florida. App. 353. At most, Plaintiffs’ cherry-

picked statements show an awareness of a possible disparate impact. See Bray, 506 U.S.

at 271–72; App. 352–53. In any event, the district court correctly discounted these state-

ments of individual legislators as “minimally probative,” App. 353—because such state-

ments “[are] not necessarily what motivates scores of others to enact” legislation, and

relying on those statements to prove animus amounts to little more than judicial “guess-

work.” Hunter v. Underwood, 471 U.S. 222, 228 (1985).

       Plaintiffs’ further suggestion (at 20–21) that the Florida Legislature should have

chosen “narrower alternatives”—such as limiting SB 264 to “foreign powers and their

agents”—would have defeated the entire purpose of having the “domicile” provision

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to prevent circumvention of the law by totalitarian governments. Greater Birmingham

Ministries, 992 F.3d at 1327. Plaintiffs also overlook that the Legislature adopted miti-

gating measures—it allowed Chinese domiciliaries to purchase certain residential prop-

erty, and it excluded U.S. citizens and LPRs from the restrictions, which undoubtedly

include persons of Chinese national origin. See Fla. Stat. § 692.204(1)(a)(4), (2); Greater

Birmingham Ministries, 992 F.3d at 1327 (deeming it immaterial that the “legislature did

not include the alternative option that Plaintiffs would have preferred,” when it adopted

measures that softened the law’s impact).

       The district court did not clearly err in finding that Plaintiffs failed to show ani-

mus.

       B.     SB 264 is not vague.

       Plaintiffs argue (at 46–51) that three terms in SB 264 are vague: “domicile”; “crit-

ical infrastructure facility”; and “military installation.” They also object to the method

for determining the distance between a residential property and a critical infrastructure

facility or military installation. Initial Br. 50–51. But as the district court correctly found,

App. 359–62, those terms are not even close to being so “utterly devoid of a standard

of conduct so that [they] simply ha[ve] no core,” SisterSong, 40 F.4th at 1327. The statute

defines “critical infrastructure facility” and “military installation” in considerable detail.

Fla. Stat. § 692.201(2), (5). Florida law tells individuals how to calculate statutory dis-

tances. State v. Burch, 545 So. 2d 279, 281 (Fla. 4th DCA 1989). And “domicile” has a



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well-established meaning under Florida common law. Weber v. Weber, 929 So. 2d 1165,

1168 (Fla. 2d DCA 2006). Nothing about any of that is vague.

         Plaintiffs contend (at 48) that a heightened vagueness standard applies to strict-

liability crimes. Even assuming the statute indeed establishes a strict-liability crime, but

see State v. Giorgetti, 868 So. 2d 512, 519–20 (Fla. 2004), the courts have applied ordinary

vagueness standards to crimes lacking a mens rea element, Village of Hoffman Estates v.

Flipside, Hoffman Estates, 455 U.S. 489, 500 (1982) (stating only that the Court applied

the ordinary “criminal” vagueness standard); United States v. Hedges, 912 F.2d 1397, 1403

(11th Cir. 1990); United States v. Apollo Energies, Inc., 611 F.3d 679, 688–89 (10th Cir.

2010).

         Whatever the standard, though, the statute is not vague. A statute is “not required

to define every factual situation that may arise.” United States v. Heaton, 59 F.4th 1226,

1247 (11th Cir. 2023) (citation omitted). And while Plaintiffs say (at 50) that finding

military installations or critical infrastructure facilities may require research, “[w]hat ren-

ders a statute vague is not the possibility that it will sometimes be difficult to determine

whether the incriminating fact” is established, “but rather the indeterminacy of precisely

what that fact is.” United States v. Williams, 553 U.S. 285, 306 (2008). 7



        SB 264’s affidavit requirement is unlike the one in Louisiana ex rel. Gremillion v.
         7

NAACP, 366 U.S. 293 (1961), which required the NAACP to attest to the fact that no
director or officer in the NAACP was a “member[] of Communist, Communist-front
or subversive organizations.” Id. at 294–95. SB 264, at most, requires an individual to


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       C.     SB 264 is not preempted by the FHA.

       Plaintiffs’ claim that SB 264 is preempted by the FHA fails for two reasons. The

FHA does not give Plaintiffs a cause of action to challenge preempted state laws. And

even if it did, their claims fail on the merits because, as the district court concluded,

Plaintiffs failed to demonstrate discriminatory treatment or disparate impact. App. 356–

58.

       1. As a threshold matter, “the Supremacy Clause is not the source of any federal

rights and certainly does not create a cause of action.” Armstrong v. Exceptional Child Ctr.,

575 U.S. 320, 324–25 (2015) (citation omitted). Plaintiffs’ preemption claim must there-

fore rest on either a statutory cause of action or an action rooted in equity. Neither is

available under the FHA.

       The FHA gives an “aggrieved person” the right to sue only for “an alleged dis-

criminatory housing practice.” 42 U.S.C. § 3613(a)(1)(A). The express provision of this

one cause of action forecloses any implied right of action for preemption under the

FHA, under 42 U.S.C. § 1983, or in equity. See Armstrong, 575 U.S. at 328; City of Rancho

Palos Verdes v. Abrams, 544 U.S. 113, 121 (2005); In re Wild, 994 F.3d 1244, 1255 (11th

Cir. 2021) (en banc). Plaintiffs thus attempt to shoehorn their preemption claim into



attest to their domicile, which Florida law defines as the last place where that person
was both physically present and intended to remain indefinitely or permanently. See infra
42. Unlike directors’ and officers’ political affiliations, which a large organization “can-
not be expected to know,” a person can be expected to know the facts underlying their
own domicile. Gremillion, 366 U.S. at 295.

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Section 3613(a)(1)(A) by characterizing SB 264 itself as a “discriminatory housing prac-

tice.” But the FHA carefully distinguishes between a “law” that may be preempted and

a “discriminatory housing practice” that is “require[d] or permit[ted]” by that law. 42

U.S.C. § 3615. The former cannot be the latter.

       Jackson v. Okaloosa County, 21 F.3d 1531 (11th Cir. 1994)—cited by Plaintiffs (at

17)—is not to the contrary. That case involved a classic “housing practice,” a county’s

non-binding administrative guidelines for a particular housing development. Id. at 1535.

Jackson thus was not a preemption case at all, because it did not involve a challenge to a

law or regulation.

       2. Even if Plaintiffs had a right to sue for preemption under the FHA, their claim

would fail on the merits. The FHA allows two types of discrimination claims: disparate

treatment (requiring a showing of discriminatory purpose) and disparate impact (requir-

ing only a showing of discriminatory effect). Tex. Dep’t of Hous. & Cmty. Affs. v. Inclusive

Cmtys. Project, Inc. (“ICP”), 576 U.S. 519, 524, 545 (2015). Plaintiffs failed to establish a

likelihood of success under either approach.

       As the district court explained, the anti-discrimination provision in the FHA

“does not include alienage or citizenship as protected characteristics.” App. 356–57.

That refutes Plaintiffs’ insistence (at 14–17) that alienage or domicile discrimination is

somehow the same as national-origin or race discrimination under the FHA. See Espi-

noza v. Farah Mfg. Co., 414 U.S. 86, 95 (1973) (holding that Title VII proscribes discrim-

ination based on race and national origin, but not based on citizenship or alienage).

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Plaintiffs have failed to demonstrate facial or intentional discrimination based on race

or national origin under the FHA for essentially the same reasons they failed to establish

a likelihood of success on their equal-protection claim. See supra 16–26; App. 357.

       Plaintiffs are no more likely to succeed on a disparate-impact theory. The district

court did not abuse its discretion in refusing to consider the FHA disparate-impact

claim Plaintiffs half-heartedly raised in a footnote. SEC v. Big Apple Consulting USA, Inc.,

783 F.3d 786, 811–12 (11th Cir. 2015). And in all events, Plaintiffs failed to show a

“statistical disparity” in the law’s effects or “robust causality” between the law and that

disparity. ICP, 576 U.S. at 542–43; see also Inclusive Cmtys. Project, Inc. v. Lincoln Prop. Co.,

920 F.3d 890, 907–08 (5th Cir. 2019) (describing “robust causality” element). Plaintiffs

also did not show that SB 264 would be an “artificial, arbitrary, and unnecessary bar-

rier[]” because they can point to no “available alternative practice that has less disparate

impact and serves the [State’s] legitimate needs” in protecting against malign foreign-

government influence. App. 358; see ICP, 576 U.S. at 533 (stating that it is a plaintiff’s

burden to demonstrate an effective, less discriminatory alternative).

       D.     SB 264 is not preempted by the CFIUS regime.

       Plaintiffs are equally wrong to claim that Florida’s statute is preempted by the

regulatory regime administered by CFIUS. Here again, the relevant statute does not

grant Plaintiffs a cause of action for preemption. The district court also correctly found

that the CFIUS regime does not preempt SB 264.



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       1. The CFIUS statute lacks the “rights-creating” language necessary to imply a

cause of action for preemption, whether from the statute itself or under 42 U.S.C.

§ 1983. See Wild, 994 F.3d at 1255 n.11; Health & Hosp. Corp. of Marion Cnty. v. Talevski,

599 U.S. 166, 183–84 (2023). It also precludes any equitable claim for preemption by

(1) precluding judicial review of the actions of the President, 50 U.S.C. § 4565(e)(1);

(2) providing the U.S. Attorney General a cause of action to enforce a presidential or-

der, id. § 4565(d)(3); and (3) authorizing the President to sue “any person” (including a

state) that takes “acts or practices which constitute or will constitute a violation of any

provision of this chapter,” id. §§ 4556(a), 4552(15). See Armstrong, 575 U.S. at 328 (when

statute “implicitly precludes private enforcement,” litigants “cannot, by invoking our

equitable powers, circumvent Congress’s exclusion of private enforcement”). Congress

sensibly entrusted enforcement of the CFIUS regime to the President and his subordi-

nates, the actors best positioned to protect the national-security values the CFIUS stat-

ute embodies, not to self-interested private plaintiffs.

       2. Even if Plaintiffs had a private right of action to enforce the CFIUS regime,

their claim would fail on the merits. Because regulation of real-estate transactions—

even as to aliens—is a historic and traditional state power, see Sackett v. EPA, 598 U.S.

651, 680 (2023) (states have “primary authority over land and water use”); supra 19–20

& note 4, SB 264 must be afforded the strongest presumption against preemption.

Plaintiffs have failed to show any “clear and manifest purpose of Congress” to over-

come this presumption. Wyeth v. Levine, 555 U.S. 555, 565 (2009). For several reasons,

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the district court correctly held that the CFIUS regime neither conflicts with SB 264

nor occupies the field of alien land ownership.

       First, it is implausible that Congress meant for CFIUS review to occupy the field

of real-estate transactions involving aliens. See United States v. Alabama, 691 F.3d 1269,

1281 (11th Cir. 2012). Not only is field preemption “rare,” it also arises only if a federal

statute manifests an intent to displace all state regulation in a defined area. Nelson v.

Great Lakes Educ. Loan Servs., Inc., 928 F.3d 639, 651–52 (7th Cir. 2019) (the absence of

any language to occupy the field “weighs heavily” against field preemption). Far from

indicating any such intent, Congress has acquiesced in the centuries-long history of alien

land restrictions by the states by imposing such restrictions itself in localities subject to

its authority. See 48 U.S.C. §§ 1501–1507 (territories and public lands); id. § 1508 (Dis-

trict of Columbia). The President and the Senate have also long used treaties as the

device for displacing state-law restrictions on alien land ownership, 8 reflecting their



       8
         Some treaties expressly displace alien land laws. See, e.g., David M. Golove,
Treaty-Making and the Nation: The Historical Foundations of the Nationalist Conception of the
Treaty Power, 98 Mich. L. Rev. 1075, 1104–10 (2000); Treaty of Amity and Commerce,
Fr.-U.S., Feb. 6, 1778, art. XI, 8 Stat. 12, 18 (providing that subjects of France would
be able to devise and inherit real property in the United States); Treaty Concerning the
Encouragement and Reciprocal Protection of Investment, Alb.-U.S., Jan. 11, 1995, arts.
I(1)(d)(iv), II(1), T.I.A.S. No. 98-104, at 2–4; see also id. art. XV(1)(a), at 12 (applying
treaty requirements to all political subdivisions, including state and local governments);
Treaty Concerning the Encouragement and Reciprocal Protection of Investment,
Mozam.-U.S., Dec. 1, 1998, arts. I(d)(iv), II(1), T.I.A.S. No. 13006, at 2–4. Others make
specific point to exempt them. See, e.g., James Frechter, Alien Landownership in the United
States: A Matter of State Control, 14 Brook. J. Int’l L. 147, 168–71 (1988); Treaty of Friend-
ship, Commerce and Navigation, U.S.-Ire., Jan. 21, 1950, art. VII(3), 1 U.S.T. 788, 792.

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understanding that federal law otherwise leaves in place this longstanding state practice.

Cf. Wyeth, 555 U.S. at 574 (“If Congress thought state-law suits posed an obstacle to its

objectives, it surely would have enacted an express pre-emption provision at some point

during the FDCA’s 70-year history.”); App. 370–71.

       SB 264 thus faces a different historical landscape than did the Massachusetts

Burma law struck down in Crosby. In Crosby, Massachusetts had identified just one fed-

eral sanctions statute with an express preemption provision and no other state regimes

similar to Massachusetts’ where the Supreme Court had rejected, much less considered,

a preemption challenge. 530 U.S. at 387–88. In contrast, the President and the Senate

have a long history of deliberate, country-by-country determinations whether to leave

state alien land laws intact in friendship treaties. See supra note 8. And the Supreme

Court has even upheld alien land laws against preemption claims. See, e.g., Terrace, 263

U.S. at 217 (rejecting preemption challenge to state alien land law under treaty with

Japan). It is therefore eminently reasonable to conclude that the “failure to enact express

preemption” in the CFIUS statute or elsewhere “implies approval” of these state laws.

Id.

       Second, Plaintiffs have not met the “high threshold” of showing that SB 264

obstructs Congress’s purposes in authorizing that regime. Whiting, 563 U.S. at 607. Far

from conflicting, SB 264 and CFIUS comfortably co-exist. The scope of CFIUS review

is limited. CFIUS reviews only “covered transactions” within a short statutory time

frame, using eleven statutory factors to determine whether a “covered transaction”

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poses a “national security” threat. 50 U.S.C. § 4565(b)(1)(A), (b)(1)(F), (b)(2), (f). If

CFIUS identifies a threat and wishes to block a transaction, it refers the matter to the

President, who makes the final call via executive order. 50 U.S.C. § 4565(d), (l)(2). Real

estate is a microscopic part of this system. Only in 2018 did CFIUS receive authoriza-

tion to review any real-estate transactions. Pub. L. No. 115-232, sec. 1703, § 721(a)(4),

132 Stat. 2177–79 (2018) (codified at 50 U.S.C. § 4565(a)(4)); App. 370. Now, CFIUS

reviews proposed real-estate transactions by foreign nationals or companies only when

the property lies (1) within an air or maritime port; or (2) close to a military installation

or sensitive federal government property. 50 U.S.C. § 4565(a)(4)(B)(ii). This definition

excludes “single housing unit[s],” “urbanized areas,” and property near privately owned

sensitive infrastructure. See 50 U.S.C. § 4565(a)(4)(B)(ii), (a)(4)(C). CFIUS also has nar-

row ways to identify a “covered transaction.” The primary means is an investor’s written

notice, which is mostly voluntary, 50 U.S.C. § 4565(b)(1)(C)(i)(I), and is never manda-

tory for real-estate transactions.

       Given CFIUS’s limited review and resources, this regime reflects Congress’s

judgment that the federal government’s role in alien land ownership should be limited.

That system, which in 2021 reviewed a grand total of 6 real-estate transactions nation-

wide, 9 hardly evinces a “clear and manifest” congressional determination that any real-



       9
         See CFIUS, Annual Report to Congress—Report Period: CY 2021 at 15, 23
(Aug. 2, 2022), https://home.treasury.gov/system/files/206/CFIUS-PublicAnnualRe-
porttoCongressCY2021.pdf

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estate transaction not blocked by the President is free of national-security concern and

must therefore be allowed. Wyeth, 555 U.S. at 565. For this same reason, state laws

barring transactions beyond CFIUS’s authority or capacity to review do not interfere

with federal foreign policy. SB 264 is a permissible exercise of Florida’s sovereign pre-

rogative to protect its own land and citizens. See Fac. Senate of Fla. Int’l Univ. v. Winn, 616

F.3d 1206, 1210–11 (11th Cir. 2010); see also App. 369. The courts in Crosby and Odebrecht

were faced with completely different federal statutes and considerations, and so their

logic does not “squarely” map onto SB 264, as Plaintiffs contend. Initial Br. 35. CFIUS’s

inability to review a given real-estate transaction, which largely stems from its jurisdic-

tional and resource limitations, reflects no congressional purpose that a law like Flor-

ida’s would disrupt.

       Other evidence confirms the conclusion that Congress intended a limited inter-

vention in the federal-state balance of regulating real-property. The 2018 amendments

that added real-estate transactions to CFIUS’s jurisdiction, for instance, contained an

express preemption provision in a nearby section in the same title of the Act. See Pub.

L. No. 115-232, sec. 1773(c), 132 Stat. 2237 (2018) (codified at 50 U.S.C. § 4842(c)). In

that neighboring provision, Congress prohibited private boycotts of countries that are

friendly to the United States and that are not themselves the object of any boycott under

federal law. See 50 U.S.C. § 4842(a)(1). Along with that prohibition, Congress expressly

preempted state laws pertaining to boycotts against countries friendly to the United

States. 50 U.S.C. § 4842(c). “Where Congress includes particular language in one section

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of a statute but omits it in another section of the same Act, it is generally presumed that

Congress acts intentionally and purposely in the disparate inclusion or exclusion.” Rus-

sello v. United States, 464 U.S. 16, 23 (1983). So while Congress indeed struck “a balance

among a variety of interests when it enacted” the CFIUS statute, “[p]art of that balance”

was “allocating authority between the Federal Government and the States.” Whiting,

563 U.S. at 606–08. Plaintiffs have not shown a “clear and manifest” intention to radi-

cally reshape the existing balance of authority by stripping states of their longstanding

power to enact real-estate legislation as to aliens for the protection of its own citizens

and land.

       Nor is SB 264 preempted merely because it affects “foreign nationals.” Initial Br.

34–35. Plaintiffs’ argument flouts Whiting, where the Supreme Court upheld a state law

against a preemption claim under a federal statute that regulated employment and work

authorization of aliens. 563 U.S. at 587. The state law stripped the business licenses of

companies that knowingly or intentionally employed illegal immigrants. 563 U.S. at 591.

The Court held that “[r]egulating in-state businesses through licensing laws has never

been considered such an area of dominant federal concern.” Id. at 604. The same is true

of regulating alien ownership of land.

       Similarly, in Clark v. Allen, the Supreme Court upheld a state law that barred

aliens from inheriting property, unless their home country had reciprocal rights to in-

heritance for American citizens. 331 U.S. 503, 506–07 & n.1, 517 (1947). The Court

rejected a similar foreign-affairs argument as “far fetched,” id. at 517, relying on Blythe

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v. Hinckley, in which the Court had similarly characterized as “extraordinary” a claim

that “in the absence of any treaty whatever upon the subject, the State had no right to

pass a law in regard to the inheritance of property within its borders by an alien.” 180

U.S. 333, 340 (1901). It is of no consequence that the state law upheld in Clark applied

even-handedly to all aliens from countries whose laws did not qualify for reciprocity. If

anything, the reciprocity provision made the state law more intrusive into foreign af-

fairs. See Shames v. Nebraska, 323 F. Supp. 1321, 1326–27 (D. Neb. 1971) (three-judge

district court).

       Plaintiffs also assert (at 38) that Florida is waging an “economic war” with China

and point to legislators’ expressions of concern (at 37–38) about security threats posed

by China. But as the district court found, that evidence at most reflects a permissible

aim of protecting Floridians. App. 369. Plaintiffs also claim (at 37–38) that Florida can-

not “single[] out particular countries and nationalities.” This Court, however, held oth-

erwise in rejecting a preemption challenge to a Florida law that limited travel by state

employees to particular countries that support terrorism. See Winn, 616 F.3d at 1210–

11. This Court concluded it permissible for Florida to prevent its resources from fund-

ing terrorism through identifying countries that appeared on the federal government’s

list of state sponsors of terrorism. See id. at 1210. SB 264 similarly reflects Florida’s

legitimate goal of protecting its citizens. App. 367–69. Plaintiffs point to the fact that

the Chinese Embassy has issued informal statements criticizing SB 264, but that is a far

cry from the formal diplomatic protests found to be of concern in Crosby and Odebrecht.

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Initial Br. 37 & n.13; see Crosby, 530 U.S. at 382–83 (noting that foreign governments

had “filed formal protests with the National Government” and “lodg[ed] formal com-

plaints against the United States in the World Trade Organization”). A hostile foreign

country cannot contribute to triggering federal preemption by issuing a press release.

       More telling is that the federal government, which below filed a statement of

interest opposing Florida’s law on other grounds, did not contend that Florida’s law

was preempted by the CFIUS regime or by any other facet of its foreign-affairs author-

ity. Plaintiffs claim (at 45 n.16) that no inference can be drawn from that silence, because

the United States waited until the Supreme Court proceedings in Crosby to weigh in on

foreign-affairs issues. See Nat’l Foreign Trade Council v. Natsios, 181 F.3d 38, 54 n.9 (1st

Cir. 1999) (noting that the “Executive Branch ha[d] not taken an official position” at

the First Circuit), aff’d, Crosby, 530 U.S. 363 (2000). But here, the United States has al-

ready participated—unusually—at the district-court level, making its silence on the

CFIUS preemption claim even more deafening. Notably, the U.S. Solicitor General

does not seem to have authorized the United States to support Plaintiffs on appeal in

any respect. See 28 C.F.R. § 0.20(c) (establishing that the Solicitor General needs to ap-

prove amicus briefs in the courts of appeals, but not mentioning statements of interest

in district court).

       For these same reasons, this Court should reject Plaintiffs’ assertion that a pre-

sumption against preemption does not apply here. Initial Br. 41 n.14 (citing United States

v. Alabama, 691 F.3d 1269, 1296 (11th Cir. 2012)). Alabama involved an “extraordinary

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and unprecedented” contract law that barred the enforcement of contracts with illegal

aliens, “the thrust of” which was “to impinge on an area of core federal concern” of

alien removal and was merely a “a thinly veiled attempt to regulate immigration under

the guise of contract law.” 691 F.3d at 1293, 1296. Unlike a law to which “[n]o other

purpose could credibly be ascribed” than to impinge on a core area of federal concern,

id. at 1296, the district court properly determined that the “thrust of” Florida’s law is to

preserve state security, App. 368–69. SB 264 thus regulates the “area of traditional state

concern” of real property in a way that states have done for centuries. Alabama, 691

F.3d at 1296; see supra 19–20 & note 4.

       Plaintiffs’ overreading of Alabama would bring that decision into conflict with

the Supreme Court’s general reluctance to reverse the presumption against preemption

for state laws regulating property. In United States v. Pink, the Court declared that “even

treaties . . . will be carefully construed so as not to derogate from the authority and

jurisdiction of the States of this nation unless clearly necessary to effectuate the national

policy.” 315 U.S. 203, 230 (1942). These included treaties “relating to the power of an

alien to dispose of property in this country.” Id. And in Barclays Bank PLC v. Franchise

Tax Board, the Court upheld a California law determining the amount of corporate fran-

chise tax owed by multinational corporations, despite multiple “Executive Branch ac-

tions, press releases, letters, and amicus briefs,” opposing California’s method of calcu-

lation. 512 U.S. 298, 301–02, 329–30 (1994) (dormant foreign commerce challenge).

The Court reasoned that “Executive Branch communications that express federal

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policy but lack the force of law cannot render unconstitutional California’s otherwise

valid, congressionally condoned, use of worldwide combined reporting.” Id. at 330 (emphasis

added). The Court found it significant that “Congress implicitly ha[d] permitted” that law

through historical acquiescence. Id. at 326. So too here.

       Finally, Plaintiffs assert for the first time on appeal that SB 264 should be

preempted just because it may have foreign policy “consequences,” raising a dormant

foreign affairs preemption theory that went unbriefed and unpresented below. Initial

Br. 34–35; see generally DE23. In support they cite Odebrecht and American Insurance Ass’n

v. Garamendi, 539 U.S. 396 (2003), yet those cases found state laws to be preempted

because they conflicted with foreign policies expressed in positive law. Initial Br. 39; see

Odebrecht, 715 F.3d at 1287 n.7 (declining to consider “dormant foreign affairs” theory);

Garamendi, 539 U.S. at 421–24. The oft-questioned ruling in Zschernig v. Miller remains

the only instance in which the Supreme Court has applied this doctrine, and it is

properly limited to statutes that require state officers or courts to launch “minute in-

quiries concerning the actual administration of foreign law.” 389 U.S. 429, 435 (1968);

see also Shames, 323 F. Supp. at 1326–32 (stating that alien land law without reciprocity

provision did not intrude upon arena of foreign affairs because Zschernig concerned “ju-

dicial criticism of foreign governments”), aff’d, 408 U.S. 901 (1972); Trojan Techs., Inc. v.

Pennsylvania, 916 F.2d 903, 913 (3d Cir. 1990) (holding that, unlike in Zschernig, “Penn-

sylvania’s statute provides no opportunity for state administrative officials or judges to

comment on, let alone key their decisions to, the nature of foreign regimes”).

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       SB 264 does not require Florida courts to do anything of this sort. It is far more

like the state probate law upheld in Clark that barred foreign nationals from inheriting

unless their home country had reciprocal rights for Americans. 331 U.S. at 516–17. As

the Court stated there, “[r]ights of succession to property are determined by local law.”

Id. Without an express and “overriding federal policy,” such as a treaty, state laws with

only an “incidental or indirect effect” on foreign affairs are not facially preempted. Id.;

see also Zschernig, 389 U.S. at 432 (refusing to overrule the holding in Clark). The effects

of SB 264 are similarly “incidental or indirect” and are not preempted.

       E.     Plaintiffs are also unlikely to succeed because they lack standing.

       In the alternative, this Court may affirm on the ground that Plaintiffs lack stand-

ing to challenge SB 264.

       To have standing, Plaintiffs must show injury, traceability, and redressability. Sup-

port Working Animals, Inc. v. Gov. of Fla., 8 F.4th 1198, 1201 (11th Cir. 2021). They cannot

rely on speculative or conjectural injuries. Id. Because “standing is not dispensed in

gross,” Plaintiffs must establish standing “for each claim that they press and for each

form of relief that they seek.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021).

And in a pre-enforcement challenge, they must “inten[d] to engage in a course of con-

duct . . . proscribed by a statute.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159

(2014). Plaintiffs fall short of that standard.




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              1.     The individual Plaintiffs are Florida domiciliaries and there-
                     fore not subject to SB 264.

       SB 264 applies to those “domiciled” in China, Fla. Stat. § 692.201(4)(d), (e), but

the individual Plaintiffs are domiciled in Florida.10 The term “domicile” is well-defined

in Florida’s common law, and SB 264 “brings th[at] old soil with it.” Fla. Highway Patrol

v. Jackson, 288 So. 3d 1179, 1183 (Fla. 2020) (citation omitted). One is domiciled where

he is physically present and intends to remain permanently or indefinitely. See, e.g.,

Keveloh v. Carter, 699 So. 2d 285, 288 (Fla. 5th DCA 1997).

       As their declarations show, the individual Plaintiffs are physically present in Flor-

ida and intend to stay in Florida, indefinitely if not permanently. See id. Shen and Liu

(H-1B work visa holders) have each stated an intent to remain in the United States

permanently. App. 99, 149. So has Xu, App. 118, who as an asylum applicant must be

“unable or unwilling to return to” to the country of persecution. Mazariegos v. Off. of U.S.

Att’y Gen., 241 F.3d 1320, 1325 (11th Cir. 2001). Although Wang is an F-1 student visa




       10
         Below, Plaintiffs argued that they have standing even if they are not domiciled
in China, because every real-property transaction in Florida is subject to the law’s re-
quirement that sales be accompanied by an affidavit swearing to compliance with SB
264. DE65 at 2. But while they claim stigmatic harm, Plaintiffs are not “personally de-
nied equal treatment” by the law—only foreign principals arguably are, which turns on
domicile. Moore v. Bryant, 853 F.3d 245, 249 (5th Cir. 2017). Nor can they allege harm in
the mere burden of being subject to this requirement because it does not arguably vio-
late any legal rights they claim in this lawsuit. See Warth v. Seldin, 422 U.S. 490, 499
(1975).

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holder, her extensive ties with Florida still make her a domiciliary of the State. App.

143–44.

       Contrary to the district court’s reasoning (App. 332–34), these indicia of intent

are not overcome by the fact that Shen, Liu, and Wang have temporary visas. They can

always seek to extend their stays indefinitely—as Shen has started to do in seeking a

permanent labor certification, App. 99—and then apply for permanent residency. See

8 C.F.R. § 214.1(a)(3)(ii) (temporary visa holder need only “agree to depart the United

States at the expiration of his or her authorized period of admission or extension of stay”

(emphasis added)); Dandamudi v. Tisch, 686 F.3d 66, 70 (2d Cir. 2012) (H-1B visa holder

may intend to remain indefinitely). Wang’s F-1 visa does require her to maintain a “res-

idence in a foreign country which [s]he has no intention of abandoning,” 8 U.S.C.

§ 1101(a)(15)(F)(i), but that does not control her intent for purposes of domicile. See

Nagaraja v. Comm’r of Revenue, 352 N.W.2d 373, 377–78 & n.10 (Minn. 1984) (en banc)

(holding that F-1 visa holder established state-law domicile). And if Shen, Liu, and

Wang were to overstay their visas and become present illegally, they could remain dom-

iciliaries of Florida. See Perez v. Perez, 164 So. 2d 561, 562 (Fla. 3d DCA 1964) (alien

domiciled in Florida who was paroled under 8 U.S.C. § 1182(d)); see also Plyler, 457 U.S.

at 227 n.22 (“[I]llegal entry into the country would not, under traditional criteria, bar a

person from obtaining domicile within a State.”).

      Even if this Court determines that Plaintiff Wang has standing by virtue of her

temporary visa, because standing is not “dispensed in gross,” TransUnion, 141 S. Ct. at

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2208, that only establishes standing to challenge the registration provisions. Wang does

not have concrete plans to purchase property, but only fears that SB 264 will “require

[her] to register [her] current property.” App. 143–45.

             2.        Multi-Choice’s client does not have injuries traceable to SB
                       264, because his contract is exempted from the law’s purchase
                       restrictions, like Shen’s and Xu’s contracts.

      Multi-Choice originally claimed standing based on a projected loss of 25% of its

business from a roster of nameless “Chinese” or “Chinese-speaking” customers. E.g.,

App. 155–57. It did not show that this conjectural loss was in any way traceable to SB

264. To shore up this weakness Florida had pointed out, Multi-Choice filed a supple-

mental declaration identifying one customer, with a pending real-estate contract exe-

cuted in 2019, App. 308–20, like Shen and Xu who also have real-estate contracts exe-

cuted in April 2023.

      But these contracts are exempted by SB 264’s grandfather clause and thus do not

confer standing. That clause states that if an individual owned or acquired “any interest

in real property” before July 1, 2023, that person may continue to “own or hold such

real property.” Fla. Stat. § 692.204(3). So Multi-Choice’s customer, like Shen and Xu,

became the “owner of [their] property” when they acquired “equitable title” through

execution of their contracts, Accardo v. Brown, 139 So. 3d 848, 852–53, 856 (Fla. 2014),

each of which occurred before the effective date of SB 264. App. 111, 134, 319. This

reading is bolstered by the interpretive canon in Florida that laws should not be given

retroactive effect without an express legislative statement, which would occur if SB 264

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destroyed these vested property interests. Fla. Ins. Guar. Ass’n v. Devon Neighborhood

Ass’n, 67 So. 3d 187, 194–96 (Fla. 2011). And that is consistent with proposed rulemak-

ing by the Department of Commerce, which clarifies that contracts “executed . . . prior

to July 1, 2023,” are exempted from SB 264’s purchase restrictions. Fla. Admin. Reg.

73C-60.002.

II.    THE REMAINING EQUITABLE FACTORS ALSO DO NOT SUPPORT AN INJUNC-
       TION.

       Though the district court did not consider the other equitable factors, they too

disfavor equitable relief.

       First, an injunction is not necessary “to preserve the court’s power to render a

meaningful decision after a trial on the merits.” Alabama v. U.S. Army Corps of Eng’rs,

424 F.3d 1117, 1128 (11th Cir. 2005) (citation omitted). Plaintiffs’ only asserted exi-

gency was Plaintiff Xu’s open contract, which they implied needed to close in Septem-

ber, or else it would vanish forever. Mot. for Inj. Pending Appeal at 2; Initial Br. 52.

But September apparently passed without the sky falling; Plaintiffs’ opening brief re-

veals that Xu’s “contract has not yet been terminated.” Initial Br. 52 (filed October 2).

       That makes sense. As noted above, both Shen’s and Xu’s contracts are exempted

by SB 264’s grandfather clause. Fla. Stat. § 692.204(3). Plaintiff Xu became the “owner

of [his] property” when he acquired “equitable title” through execution of the contract

in April 2023. Accardo, 139 So. 3d at 852–53, 856. What is more, both Shen’s and Xu’s

contracts provide that the builder-seller can select any date for closing in its discretion


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up to and including April 2025. See App. 125–26, 134 (noting that the builder-seller has

two years from the date of signing, in April 2023, to complete the building and “has the

right in its sole discretion to schedule the date and place for the closing” within that

timeframe); App. 106–08, 111 (similar).

       Plaintiffs’ alleged harms are either speculative, reparable, or based on the mis-

taken view that their conduct is proscribed. None of Plaintiffs’ alleged harms would

outweigh the harm that Florida and its citizens would suffer if SB 264 were enjoined

pending a full determination on the merits. See Maryland v. King, 567 U.S. 1301, 1303

(2012) (Roberts, C.J., in chambers) (“[A]ny time a State is enjoined by a court from

effectuating statutes enacted by representatives of its people, it suffers a form of irrep-

arable injury.”). For that same reason, enjoining SB 264 would disserve the public in-

terest. See Swain v. Junior, 958 F.3d 1081, 1091 (11th Cir. 2020) (per curiam) (balance-of-

the-harms and public-interest factors “merge” when “the government is the [opposing]

party”).

III.   ANY INJUNCTION SHOULD BE CAREFULLY TAILORED.

       Should the Court believe an injunction is appropriate, it should direct the district

court to limit any injunction to those Plaintiffs who have established standing to sue

and those parts of SB 264 where the Court considers Plaintiffs to be likely to succeed.

See Georgia, 46 F.4th at 1303–04 (opinion of Grant, J., joined by Anderson, J.) (equitable

remedies should be limited to proven harms). Wang, for instance, claims no intent to

purchase property and can challenge only SB 264’s property-registration requirements;

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any injunction in her favor should be limited to that provision. App. 143–45. And Multi-

Choice should not be allowed an injunction for an unspecified universe of prospective

clients, which would anoint Multi-Choice with far greater power under the FHA than

possessed by even the U.S. Attorney General, who can enforce the FHA only in care-

fully cabined circumstances. See 42 U.S.C. § 3614(a); id. § 3614(b)(1)(A). Finally, the

FHA addresses only residential property, id. § 3602(b); so as Plaintiffs themselves

acknowledge (at 3 n.2), any injunction the district court grants on that basis should be

limited accordingly.

                                  CONCLUSION

      The Court should affirm.




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Dated: November 1, 2023                      Respectfully submitted,

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